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          Case 3:24-cv-08154-DJH Document 64 Filed 09/17/24 Page  1 of 3                 ,,,.= LOOO!'iD
                                                                        _    ReCEIVEt)   =--. QOPY
                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF ARIZONA                          SEP 11 l024
                                       CIVIL EXHIBIT LIST

~ Preliminary Injunction       □ TRO               □ Non-Jury Trial


Case N umber: _ _~3=:2~4~-c=v~-8~1~5~4~-D=J~H~     Judge Code    DJH     Date 9/17/2024

--~H~u=a~l=ap=a=i~TI=ri=b=e_ _ _ _ _ _ _ vs.       Haaland, et al.

□      Plaintiff/ Petitioner                       Defendant/ Respondent/ Intervenor

  Exhibit      Marked for         Admitted in
                                                                  Description
    No.           ID               Evidence
 AZL-1                                              Big Sandy Exploration Drilling Binder
                                   q/11 /2-+        (August 2024)
 AZL-2                                              Drill Sites Imagery
 AZL-3                                              NZ10 Photo
 AZL-4                                              NZ11 Photo
 AZL-5                                              NZ12 Photo
 AZL-6                                              NZ12 Photo and Bulk Drill Site Photo
 AZL-7                                              NZ13 Photo
 AZL-8                                              NZ14 Photo
 AZL-9                                              NZ14 Photo (2)
 AZL-10                                             View from NZ 1O Photo
 AZL-11                                             View from NZ 11 Photo
 AZL-12                                             View from Road bw NZ10 and NZ11
                                                    Photo
 AZL-13                                             Tribal Monitor Report (B_Escobar) -
                                                    August7,2024
 AZL-14                                             Tribal Monitor Report (B_Escobar) -
                                                    August 8, 2024
 AZL-15                                             Tribal Monitor Report (J_Gordon) -
                                                    August8,2024
 AZL-16                                             Tribal Monitor Report (Montoya) -
                                                    August11,2024
 AZL-17                                             Tribal Monitor Report (J_Gordon) -
                                                    August12,2024
 AZL-18                                             Tribal Monitor Report (B_Escobar) -
                                                    August13,2024
 AZL-19                                             Tribal Monitor Report (B_Escobar) -
                                                    August13,2024(Airstrip)
 AZL-20                                             Tribal Monitor Report (B_Escobar) -
                                                    August 13, 2024 (Drillpad)
 AZL-21
                                         ~
                                             ,      Tribal Monitor Report (J_Gordon) -
                                                    August 13, 2024
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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF ARIZONA

                                        CIVIL EXHIBIT LIST

0 Preliminary Injunction        □ TRO               □ Non-Jury Trial     □ Jury Trial


Case Nu mber: _ _~3=:2~4~-c=v~•=81~5~4~-D=J~H~      Judge Code    DJH      Date 9/17/2024

--~H~u=al=a-p=a~i1i~r=ib~e~_ _ _ _ _ _ vs.          Haaland, et al.

□       Plaintiff/ Petitioner                       Defendant/ Respondent/ Intervenor

    Exhibit    Marked for          Admitted in
                                                                   Description
     No.          ID                Evidence
 AZL-22                                              Tribal Monitor Report (S_Selana) -
                                   9 /\-i /2-4       August13,2024
 AZL-23                                              Tribal Monitor Report (B_Escobar) -
                                                     August14,2024
 AZL-24                                              Tribal Monitor Report (J_Gordon) -
                                                     August14,2024
 AZL-25                                              Tribal Monitor Report (S_Selena) -
                                                     August14,2024
 AZL-26                                              Tribal Monitor Report (B_Escobar) -
                                                     August15,2024
 AZL-27                                              Tribal Monitor Report (J_Gordon) -
                                                     August15,2024
 AZL-28                                              Tribal Monitor Report (B_Escobar) -
                                                     August16,2024
 AZL-29                                              Tribal Monitor Report (J_Gordon) -
                                                     August16,2024
 AZL-30                                              Tribal Monitor Report (B_Escobar) -
                                                     August 17, 2024 (Access Road)
 AZL-31                                              Tribal Monitor Report (B_Escobar) -
                                                     August 17, 2024 (Bulkpad)
 AZL-32                                              Tribal Monitor Report (J_Gordon) -
                                                     August17,2024
 AZL-33                                              Tribal Monitor Report (B_Escobar) -
                                                     August18,2024
 AZL-34                                              Tribal Monitor Report (J_Gordon) -
                                                     August18,2024
 AZL-35                                              Tribal Monitor Report (J_Gordon) -
                                                     August 18, 2024 (Update)
 AZL-36                                              Tribal Monitor Report (Beatty) - August
                                                     19,2024
 AZL-37
                                        "~           January 23, 2024 Letter from NTEC to
                                                     Hualapai
          Case 3:24-cv-08154-DJH Document 64 Filed 09/17/24 Page 3 of 3
                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF ARIZONA

                                        CIVIL EXHIBIT LIST

0 Preliminary Injunction       □ TRO                 □ Non-Jury Trial    □ Jury Trial

Case Nu mber: _ _~3==2~4~-c=v~-8=1~5~4~-D=J=H~       Judge Code    DJH     Date 9/17/2024

--~H~ua=l=a-p=a~i1i~r=ib=e~_ _ _ _ _ _ vs.           Haaland, et al.

□      Plaintiff/ Petitioner                         Defendant/ Respondent/ Intervenor

  Exhibit      Marked for         Admitted in
                                                                    Description
   No.            ID               Evidence
 AZL-38                                               April 9, 2024 Letter from Hualapai to
                                       q/11 /2.f      NTEC
 AZL-39                                               June 11, 2024 Letter from NTEC to
                                                      Hualapai
 AZL-40                                               June 27, 2024 Letter from NTEC to
                                                      Hualapai
 AZL-41                                               July 5, 2024 Letter from NTEC to
                                                      Hualapai
 AZL-42                                               August 1, 2024 Letter from Hualapai to
                                                      AZLand NTEC
 AZL-43                                   v.'1--      August 5, 2024 Letter from NTEC to
                                                      Hualapai
 AZL-44                                               Cultural Resources Survey for Sandy
                                                      Valley Exploration Project (Phase Ill)
 AZL-45                                               Bryan Moravec CV
                                        ai/11 /2-4
